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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


      EDGAR SANCHEZ,                     1:20-cv-12041 (NLH)

                   Petitioner,           MEMORANDUM OPINION & ORDER

           v.


      WARDEN FCI FAIRTON,

                   Respondent.


APPEARANCES:

Edgar Sanchez
11708-265
Fairton
Federal Correctional Institution
P.O. Box 420
Fairton, NJ 08320

       Petitioner pro se


Craig Carpenito, United States Attorney
Kristin Lynn Vassallo, Assistant United States Attorney
Office of the U.S. Attorney
District of New Jersey
970 Broad Street
Newark, NJ 07102

       Attorneys for Respondent

HILLMAN, District Judge

       WHEREAS, Edgar Sanchez filed a petition for writ of habeas

corpus under 28 U.S.C. § 2241 on August 31, 2020, see ECF No. 1;

and

       WHEREAS, the Court ordered Respondent to filed an answer or
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motion to dismiss on September 24, 2020, see ECF No. 2; and

     WHEREAS, Respondent requests an extension of time to file

its response, see ECF No. 4,

     THEREFORE, IT IS on this       6th      day of November, 2020

     ORDERED that Respondent’s request for an extension, ECF No.

4, is granted.   The response is due on or before December 9,

2020; and it is finally

     ORDERED that the Clerk shall send a copy of this Order to

Petitioner by regular mail.


                                            s/ Noel L. Hillman
At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.




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